                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                               GREENVILLE DIVISION

HEATHER FREEMAN BEAN,

         Plaintiff,
                                                    Case No. 2:09-CV-0290
             v.

THE PRUDENTIAL INSURANCE
COMPANY OF AMERICA

         Defendant.


                                STIPULATION OF DISMISSAL

       The parties are agreed and stipulate, as evidenced by the signatures of counsel for all parties

below, that all matters in controversy have been resolved by a settlement agreement and this action is

voluntarily dismissed, with prejudice, each party to bear its own costs.

                                       Respectfully submitted this 8th of February, 2013,


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